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UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Criminal Case No. 21-738 (BAH)
V.

Judge Beryl A. Howell
MICHAEL OLIVERAS,

Defendant.

VERDICT FORM

COUNT ONE: Civil Disorder, 18 U.S.C. § 231(a)(3)

With respect to the offense of Civil Disorder, we, the members of the jury, unanimously find defendant
Michael Oliveras:

NOT GUILTY <__ GUILTY
If you find defendant Michael Oliveras GUILTY of Count One, answer the following questions:

On Count One, do we, the members of the jury, unanimously agree that the civil disorder obstructed,
delayed, or adversely affected commerce or the movement of any article or commodity in commerce?
kK YES NO
On Count One, do we, the members of the jury, unanimously agree that the civil disorder obstructed,
delayed, or adversely affected the gpnduct or performance of a federally protected function?
| YES NO

COUNT TWO: Obstruction or Attempted Obstruction of an Official Proceeding and Aiding and
Abetting, 18 U.S.C. §§ 1512(c)(2), 2

With respect to the offense of Obstruction or Attempted Obstruction of an Official Proceeding and Aiding
and Abetting, we, the members of the jury, unanimously find defendant Michael Oliveras:

NOT GUILTY Shou LTY

COUNT THREE: Assaulting, Resisting, or Impeding Certain Officers, 18 U.S.C. § 111(a)(1)

With respect to the offense of Assaulting, Resisting, or Impeding Certain Officers, we, the members of the
jury, unanimously find defendant Michael Oliveras:

NOT GUILTY a GUILTY
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COUNT FOUR: Entering and Remaining in a Restricted Building or Grounds, 18 U.S.C.
§ 1752(a)(1)

With respect to the offense of Entering and Remaining in a Restricted Building or Grounds, we, the
members of the jury, unanimously find defendant Michael Oliveras:

NOT GUILTY  GuiLty

COUNT FIVE: Disorderly or Disruptive Conduct in a Restricted Building or Grounds, 18 U.S.C.
§ 1752(a)(2)

With respect to the offense of Disorderly or Disruptive Conduct in a Restricted Building or Grounds, we,
the members of the jury, unanimously find defendant Michael Oliveras:

NOT GUILTY A GUILTY

COUNT SIX: Disorderly Conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D)

With respect to the offense of Engaging in Disorderly Conduct in a Capitol Building, we, the members of
the jury, unanimously find defendant Michael Oliveras:

NOT GUILTY IX. GUILTY

COUNT SEVEN: Parading, Demonstrating, or Picketing in a Capitol Building, 40 U.S.C.
§ 5104(e)(2)(G)

With respect to the offense of Parading, Demonstrating, or Picketing in a Capitol Building, we, the
members of the jury, unanimously find defendant Michael Oliveras:

NOT GUILTY L GUILTY

DATE/TIME: if / ys

\ROREPERSON'S SIGNATURE

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